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                                      IN THE UNITED STATES DISTRICT COURT
                                       FOR THE WESTERN DISTRICT OF TEXAS
                                                 AUSTIN DIVISION

                 LEILA GREEN LITTLE, JEANNE                 §   Civil Action No. 1:22-cv-00424-RP
                 PURYEAR, KATHY KENNEDY,                    §
                 REBECCA JONES, RICHARD DAY,                §
                 CYNTHIA WARING, AND DIANE                  §
                 MOSTER,                                    §
                                                            §
                    Plaintiffs,                             §
                                                            §
                            v.                              §
                                                            §
                 LLANO COUNTY, RON CUNNINGHAM, §
                 in his official capacity as Llano County   §
                 Judge, JERRY DON MOSS, in his official §
                 capacity as Llano County Commissioner,     §
                 PETER JONES, in his official capacity as   §
                 Llano County Commissioner, MIKE            §
                 SANDOVAL, in his official capacity as      §
                 Llano County Commissioner, LINDA           §
                 RASCHKE, in her official capacity as Llano §
                 County Commissioner, AMBER MILUM, §
                 in her official capacity as Llano County   §
                 Library System Director, BONNIE            §
                 WALLACE, in her official capacity as       §
                 Llano County Library Board Member,         §
                 ROCHELLE WELLS, in her official            §
                 capacity as Llano County Library Board     §
                 Member, RHONDA SCHNEIDER, in her           §
                 official capacity as Llano County Library  §
                 Board Member, and GAY BASKIN, in her §
                 official capacity as Llano County Library  §
                 Board Member,                              §
                                                            §
                    Defendants.                             §



                               DECLARATION OF DIANE MOSTER IN SUPPORT OF
                             PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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                     I, Diane Moster, declare:

                     1.      I make this declaration based on personal knowledge. If called upon to testify, I

            could and would testify competently to the following facts.

                     2.      I am a resident of Llano County and have been a patron of the library since

            moving here. I read many different types of books on a variety of topics, including fiction and

            nonfiction books, and books written for children, young adults, and adults. For example, I have

            often checked out books on subjects such as gardening, water coloring, food, and health. I also

            take my grandchildren to the public library when they are visiting to check out books and DVDs.

            I have always known what they are checking out and had no problems with the content.

                     3.      I know that several books were removed from Llano County’s physical library

            collection, including the following: (1) Caste: The Origins of Our Discontent by Isabel

            Wilkerson; (2) They Called Themselves the K.K.K: The Birth of an American Terrorist Group by

            Susan Campbell Bartoletti; (3) Spinning by Tillie Walden; (4) In the Night Kitchen by Maurice

            Sendak; (5) It’s Perfectly Normal: Changing Bodies, Growing Up, Sex and Sexual Health by

            Robie Harris; (6) a read-aloud picture book series including My Butt is So Noisy!, I Broke My

            Butt!, and I Need a New Butt! by Dawn McMillan; (7) a read-aloud picture book series including

            Larry the Farting Leprechaun, Gary the Goose and His Gas on the Loose, Freddie the Farting

            Snowman, and Harvey the Heart Has Too Many Farts by Jane Bexley; (8) Being Jazz: My Life

            as a (Transgender) Teen by Jazz Jennings; (9) Shine by Lauren Myracle; (10) Gabi, a Girl in

            Pieces by Isabel Quintero; and (11) Freakboy by Kristin Elizabeth Clark. I cannot check out

            these books because they are no longer on library shelves or in the Llano County library catalog.

            I would check out these books in the future if they were returned to library shelves.




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                     4.       I have also attempted to access OverDrive with my Llano County library card

            without success. I would use my library card to access ebooks and audiobooks on OverDrive in

            the future if access to OverDrive were reinstated. For example, I recently needed a book for a

            book club that was not available in the library but could have been checked out on Overdrive,

            had I had access to Overdrive. The book was available on Amazon for more than $20.00 but I

            did not feel like I could spend that amount at the time.

                     5.       Public libraries are and have long been an integral part of my life. The recent

            removal of books and termination of OverDrive has caused substantial damage. The atmosphere

            in Llano County’s public libraries is just different now. I worry that those who work there are

            fearful for their jobs. The volunteers are low in number. To me, a library is a place of truth,

            knowledge, safety, and honesty. It should be a welcoming place for people of all kinds, colors,

            and personal orientations to seek knowledge and information. Up until now, I had taken public

            libraries for granted. I now see them as a gift and am willing to fight for the right of everyone to

            read what they choose without censorship.


                     I swear under penalty of perjury under the laws of the United States of America that the

            foregoing is true and correct to the best of my knowledge.



            Dated: May 7, 2022                               By:
                                                                    Diane Moster




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